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U.S. Department of State

THE U.S. FOREIGN SERVICE
EMPLOYEE EVALUATION REPORT
INSTRUCTIONS FOR PREPARATION

For Employees at Class FS-03 and below and all Career Candidates
regardless of grade

NOTE: All users of Form DS-1829 should carefully read and follow
these instructions and those on the form itself.

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PERFORMANCE EVALUATION
REQUIREMENTS

SUMMARY
(For details see 3 FAM 2810 and 3 FAH-1 H-2810.)

INTRODUCTION

The Employee Evaluation Report (EER) is one of the Department's
most important management tools. The EER includes a description of
the rated employee's position and work requirements. It provides a
means for feedback to the employee and outlines the criteria by which
the employee will be appraised.

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In addition, the EER is used by the Foreign Service Selection Boards in
making decisions on low ranking Foreign Service personnel, and
recommendations for tenure, promotion, consideration for selection-
out for substandard performance and meritorious service increases. It
also assists the Department in the career development and training of
Foreign Service personnel.

PERSONNEL COVERED

All Foreign Service (FS) employees at Class FS-03 and below and aif
Career Candidates regardless of grade must be evaluated annually, or
more frequently, if circumstances change in the interim. Form DS-
1829 is to be used to evaluate all periods of performance.

REPORT FORM

Form DS-1829 is prescribed for all required evaluations of U.S. Foreign
Service employees identified above, except those assigned to training
(use DS-1106 or DS-651, as appropriate). The DS-1829 form is pre-
set to Times New Roman 12 point font.

Employees are encouraged to use DIR's website

(http: //arpsdir.a.state.gov). To make the EER as easy to read as
possible, it is recommended that all parties leave white space in the
narratives, i.e., stay within the boundaries provided, have normal
spacing between lines in the text and indent paragraphs. No narrative
may exceed the space provided for it under each heading or section,
except continuation sheets may be used by the employee for Section
VII and the review panel for Section II. Chiefs of mission or assistant
secretaries not directly involved in the rating process as rating officers
or reviewing officers may use continuation sheets for supplemental
comments.

Memoranda reports may be used for voluntary ratings and
supplementary chargé reports. Memoranda may be submitted by
officials at the chief of mission or assistant secretary level or higher as
a supplement to the DS-1829. Neither reports nor memoranda to be
included in the Official Performance Folder (OPF) may be classified.

PREPARING EER FORM USING INTRANET

EERs prepared using the Intranet eForms version of Form DS-1829
have a pre-set Times New Roman 12 point font and set spacing

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between lines and letters that cannot be altered.

REPORT SUBMISSION

The post or bureau human resources office should send the original
and one copy of the DS-1829 or the memorandum report, completed
and signed, to HR/PE. The bureau/post human resources office will
also keep a copy of the EER on file and will provide a copy to the rated
employee. Regular reports on the annual cycle are due in HR/PE by
May 15. Regular reports on Foreign Service Officer (FSO) Entry-Level
Generalist Career Candidates as well as interim and voluntary reports
must be submitted to HR/PE within 30 days of the end of the rating
period.

RATING PERIOD AND REPORT TYPES

Regular: The annual rating cycle is from April 16 of one year to April
15 of the next for all U.S. Foreign Service employees. An exception is
made for Entry-Level Generalist Career Candidates, who are evaluated
on the anniversary of the date of their assignment to post/bureau,
unless a change has occurred in the interim.

Interim: If a change of rating officer, assignment, or major duties
occurs during the regular rating period, an interim report must be
prepared for periods of 120 days or more for all employees at class
FS-03 and below and all career candidates regardless of grade.

Voluntary: Rating officers are encouraged to prepare reports on
employees for periods of less than 120 days, whenever significant
developments pertaining to the rated employee's performance have
occurred or the rating officer might experience gaps in covering a
rated employee's performance. The DS-1829 should be used
whenever possible, but a memorandum appraisal is permissible. If a
memorandum is used, it should provide sections for the rating and
reviewing officers as well as the rated employee. Since the
memorandum form is an abbreviated evaluation, its use is best limited
to relatively short periods for which the rating officer wishes to
highlight a few specific examples of performance. Memoranda are not
to be used to document performance of employees on detail or TDY
assignment of relatively short duration, who will return to their regular
positions, and will be evaluated for the full period by an identified

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rating officer.

DEFINITION OF RATING AND REVIEWING OFFICER

The rating officer is usually the rated employee's immediate
supervisor; if not, the employee must be advised at the beginning of
the rating period as to who will be the rating officer. (See 3 FAH-1
2813.1 regarding regional personnel.)

The reviewing officer is usually the rating officer's supervisor, except
that Entry-Level Career Candidates will receive a review statement
prepared by the DCM or principal officer.

Where the person who would be designated as the reviewing officer, in
accordance with the above, is the rating officer, the reviewing officer
shall be the next highest-ranking officer. Every effort should be made
to ensure second-level review; if this is not possible, the absence of a
reviewing officer must be made known at the beginning of the rating
period.

ENSURING FAIRNESS

Rated employees must be given the opportunity to perform their
assigned duties and must be evaluated on their performance of
established work requirements. A rating officer must discuss the work
requirements and parameters of acceptable performance with the
rated employee at the beginning of the rating period and provide
feedback on the employee's performance during this period. In
situations where employees are not performing at an acceptable level,
they must be counseled and afforded an acceptable period of time to
improve.

Rating and reviewing officers as well as review panels should make a
special effort to ensure that employees are not disadvantaged, directly
or indirectly, for reasons of race, color, religion, sex, marital status,
national origin, age, disability, reasonable accommodation for
disability, sexual orientation, or means of entry into the U. S. Foreign
Service. Stereotypes, group assumptions, and sexist or ethnic
comments are inadmissible.

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PREPARATION INSTRUCTIONS
SECTION BY SECTION

PAGE 1 OF EER FORM DS-1829

SUBMISSION CONTROL

(HUMAN RESOURCES OFFICE, RATING OFFICER, AND/OR REVIEWING
OFFICER COMPLETE)

The heading of the EER Form is to be completed by the human
resources office, rating officer and/or review panel.

Type of Report - indicate if report is regular, interim, or
voluntary, or for a Career Candidate.

Grade - should be indicated as FS (not FO or FP); and for
seniors as FE (e.g., FE-MC).

Position Title - should be descriptive of the job performed by
the rated employee, regardless of the employee's specialization or
conal affiliation, e.g., the Position Title of an information management
specialist assigned to a general services position would be General
Services Officer.

The rating officer should sign and date the form after completing
Sections I, III, IV, and V and forward it to the reviewing officer. The
reviewing officer should sign and date the form after completing
Section VI and forward it to the bureau/post human resources office to
make a control copy before the evaluation is given to the rated
employee for completion of Section VII.

SECTION I. CERTIFICATION - WORK
REQUIREMENTS AND COUNSELING

(RATING OFFICER AND RATED EMPLOYEE COMPLETE)

Completion of this section certifies that work requirements were
prepared by the rating officer, reviewing officer, and rated employee

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within 45 days of the beginning of the rating period or within 45 days
of the arrival on duty of the rated employee or rating officer. The
statement may be revised at any time during the rating period to
reflect a major change in the employee's responsibilities. The
statement or summary thereof, is to be inserted in Section III B of the
DS-1829 when prepared.

This section also certifies that the rating officer reviewed the
performance with the rated employee, or counseled the Career
Candidates at least twice, at 4-month intervals, during a regular rating
period. For shorter assignments, performance will be reviewed at
least once (preferably at midpoint) during the period of assignment
and at intervals no longer than 4 months. The primary intent of these
counseling sessions is to assure, to the extent possible, that the
employee is apprised of how well the agreed upon work requirements
are being met. Discussions between the rating officer and the rated
employee should address specific areas of accomplishment and those
areas in which the rated employee should improve. Any critical
judgments, which are made in the final EER, should not come as a
surprise to the rated employee.

The rating officer and rated employee must complete, date, and sign
this section certifying that counseling sessions took place during the
rating period and that at least one of them was documented on the
Counseling Certification Form (DS-1974). A copy must be provided to
the rated employee. The rating officer should keep the original for his
or her own records. Use a separate copy of the form to document
each discussion.

SECTION II. REVIEW PANEL STATEMENT

(REVIEW PANEL COMPLETES)

Review panels, which should be composed of experienced post or
bureau employees, should review the evaluation reports (including
memorandum reports) of all FS employees before submission to the
U.S. Department of State, Office of Performance Evaluation (HR/PE),
Room H-720, 2401 E Street, NW, Washington, DC 20522-0108.

The review panel has an important role in assuring that evaluation

reports are done well. Its functions are:
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Technical - reviewing EERs for inadmissible comments and changing or
deleting inadmissible material; confirming that regulations and
instructions in 3 FAM 2810 and 3 FAH-1 H-2810 are correctly applied
and, if not, returning them for correction; and

Advisory - returning reports that lack illustrative examples of
performance to substantiate comments or which appear inconsistent
from one part to the next. Unsubstantiated comments do not meet
requirements and should be rejected by the review panel.

The review panel must try to have any deficiencies corrected. If the
effort is unsuccessful, the panel should note the suggested revisions in
Section II of the EER and any reasons for their rejection. A
continuation sheet may be used.

Any revision by the rating officer should be shown if possible to the
reviewing officer and must be shown to the rated employee. A revision
in the reviewing officer's statement must be shown to the rated
employee. The employee may then revise or supplement Section VII.

If an employee's statement contains negative or pejorative comments
concerning the rating or reviewing officer, or raises significant
questions of fact central to the evaluation, the review panel must first
provide the rated employee the opportunity to review and revise these
comments. If the rated employee refuses, then the review panel may
invite the rating and/or reviewing officer as appropriate to comment
on the negative or pejorative aspects of the statement. Any such
comments will be shown to the employee, who will be given the
opportunity to make a final statement. These supplemental statements
will be attached to the evaluation report (3 FAH-1 H-2817). Although
the review panel has the primary responsibility to check for negative
or pejorative comments, if HR/PE identifies such comments it will
follow the same procedure outlined above.

The Foreign Service Selection Boards are instructed to identify panels
that warrant criticism for failure to seek correction of EERs that do not
comply with the regulations and instructions. Where a panel is
criticized, the Official Performance Folder (OPF) of the review panel
chairperson will be so documented. The review panel chairperson has
the right of appeal to the Director of HR/PE.

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If an evaluation is submitted after the due date to HR/PE, the panel
should indicate in Section II C who was responsible for the delay.
Finally, the chairperson of the panel should sign Section II B and
indicate the date the evaluation is returned to the post or bureau
human resources office for forwarding to HR/PE.

Assistant secretaries, chiefs of mission, and their equivalents may opt
not to submit to review panel’s evaluations they prepare on their
deputies.

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SECTION III. EMPLOYEE'S JOB AND WORK
REQUIREMENTS

(RATING OFFICER COMPLETES)

The rating officer should complete both the Section III A. Job
Description and III B. Work Requirements in collaboration with the
rated employee, and the concurrence of the reviewing officer within 45
days of the beginning of the rating period or within 45 days of the
arrival on duty of either a new rated employee or rating officer. The
views of the rating officer, as supervisor, prevail in the event of any
disagreements. A copy of this statement should be signed and dated
by the rated employee, the rating officer, and the reviewing officer.
The rating officer should submit a copy of this statement to the human
resources office. These two sections should contain the following
points:

Section III A. Job Description: Briefly explain the rated employee's
position in the organizational structure and describe the broad scope of
responsibilities as well as the supervisory requirements, whether
formal or informal, incumbent in the job.

Section III B. Work Requirements: This section should indicate
clearly in descending priority and divided into two categories: (1)
continuing responsibilities, which are duties that must be carried out
on a continuing basis, or as required by circumstances, for a time
extending beyond the rating period, and (2) specific objectives, which

can be achieved completely during the rating period. Employees who
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are supervisors should have as a continuing responsibility the
supervision and development, and evaluation of their subordinates.
Names of organizations or other entities should be spelled out.

Work requirements should include under specific objectives, to the
extent feasible, agreement on professional development activities to
enhance the career potential of the employee. These activities may
comprise formal training, on-the-job training, or specific
responsibilities that are job related or out of function. Only those
activities which both the rating officer and rated employee agree can
be reasonably carried out should be included. The rating officer's
comments on performance and/or potential should include, as
appropriate, efforts and accomplishments in professional development
activities.

Work requirements may incorporate objectives identified in Mission or
Bureau Performance Plans.

Work requirements must include proper management of classified
material and information as a key element for all personnel.

The work requirements statement should be modified during the rating
period to reflect any changes in the work requirements.

Section III C. Special Circumstances: This section should be used to
describe any relevant conditions in the work environment that affected
accomplishment of the work requirements during the rating period.
These might include special circumstances ranging from elements of
the political situation in the host country to problems of staffing at the
mission/office. Completion of this section, while optional, can provide
the reader useful insights in understanding the evaluation.

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SECTION IV. EVALUATION OF PERFORMANCE AND
ACCOMPLISHMENTS

(RATING OFFICER COMPLETES)

Section A. General Appraisal

This section applies to all Foreign Service (FS) employees at Class FS-
03 and below and all Career Candidates regardless of grade. The
rating officer should indicate whether performance was satisfactory or
better. To assess performance at less than satisfactory, the rating
officer must comply with 3 FAH-1 H-2814.3 or the other sections to
which it refers.

A rating officer may not assign an overall rating of unsatisfactory in an
interim or regular report unless the rated employee has previously
been advised of the areas of performance which are inadequate and
has been given a reasonable opportunity (ordinarily 30 to 60 days)
and adequate guidance to remedy these deficiencies. If a reasonable
opportunity has not been provided as of the end of the regular rating
period, the scheduled rating may be delayed for up to 60 days to
provide opportunity for improvement.

For procedures which apply for unsatisfactory ratings of Career
Candidates and employees subject to administrative promotions, see 3
FAM 2329.3 (employees subject to administrative promotion), 3 FAM
2240 (FSO Career Candidates), and 3 FAM 2250 (Specialist Career
Candidates).

Section B. Discussion

This section applies to all employees and should provide a narrative
evaluation of the rated employee's job performance based on at least
three of the work requirements, including continuing responsibilities
and/or specific objectives, discussed in Section III A and B. Specific
examples of accomplishments or problems should be cited to illustrate
comments.

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If the rated employee is a supervisor, the rating officer's comments
should cover: (a) effectiveness in developing subordinates and in
planning, supporting, and monitoring their work, and the concern
shown for success and morale; (b) compliance with performance
appraisal requirements (i.e., preparation of work requirements
statements and periodic discussions with employees) and timeliness of
reports; (c) the extent to which equal employment opportunity
considerations are effectively taken into account in the delegation of
assignments, counseling, recommendations for training and placement
and recognition of achievements of subordinates; and (d) effectiveness
in establishing and maintaining appropriate management/internal
control systems.

In discussing performance, work done for other agencies or outside
the rating officer's personal supervision may be cited, drawing as
appropriate on any evaluations submitted by the beneficiaries of the
rated employee's work.

For the evaluation of EEO counselors and liaison employees only:
rating officers should list these activities in Section III. After
consultation with the rated employee, rating officers should comment
on efforts such as leadership of EEO discussions and advice given to
management officials.

SECTION V. EVALUATION OF POTENTIAL

(RATING OFFICER COMPLETES)

Section A. For Career Candidates Only

This section is for assessment of the career potential of a Career
Candidate to serve successfully across a normal career span, i.e., (for
Entry-Level Generalists) extending to and including class FS-01; (for
Specialists) at higher levels with increased responsibilities in their
occupational category.

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Section B. For all Foreign Service (FS) employees at
Class FS-03 and below and all Career Candidates
regardless of grade.

This section must draw on specific examples of the rated employee's
performance in each of the six core competency groups listed in
Section V B to illustrate and assess the employee's career potential.

The competencies are developmentally defined at the Entry-Level, Mid-
Level and Senior Foreign Service ranks and are applicable to all
employees - Specialists and Generalists. The skills required at each
level are cumulative; therefore the descriptions are based on the
assumption that the employee has mastered the skills at the lower
level(s). The rating officer should review descriptions at any lower
levels before making an evaluation.

For example, rated employees who are not supervisors will
nevertheless be in positions that require innovation, problem solving
and decision making and therefore, can be appropriately evaluated in
the area of leadership. All employees can be rated on their intellectual
skills; for example, all have the opportunity to demonstrate active
learning and critical thinking. Every employee is called on to
communicate orally and in writing which form the core of the
communication skills area. All jobs, at all levels, require EEO
sensitivity. Any indication of less than full support for equal
employment opportunity objectives must be discussed.

All jobs include responsibility for safeguarding classified material and
information. Rating officers must comment on any pattern of failing to
ensure that classified material and information is properly
safeguarded.

Foreign Language Skill (under Communication Skills competency)
should be addressed for all employees if possible, but is mandatory if
the following three conditions are met: (a) the employee has been
tested at the S-3/R-3 level or above, (b) the employee is serving in a
position where s/he can make use of such language proficiency and,
(c) the rating officer is capable of making an assessment.

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SECTION C. AREAS FOR IMPROVEMENT

This section must be completed for all rated employees. No employee
is perfect. Area(s) cited must be explicitly linked to one or more of the
six competency groups listed in Section V B of the EER. Review panels
should return to the rating officer reports that are deficient in this
respect. Selection boards will be advised to issue formal statements of
criticism to rating officers in cases of EERs submitted to the
Department that do not meet this requirement.

In assessing relative weakness, rating officers should emphasize areas
where improvement would most enhance overall effectiveness in the
present job or better prepare the employee for advancement to
greater responsibilities. At least one area for improvement must be
cited for each employee. Explain what the employee realistically
would be expected to do to improve. Honest completion of this section
provides an indication of the overall credibility of the EER.

SECTION VI. REVIEW STATEMENT

(REVIEWING OFFICER COMPLETES)

The reviewing officer's assessment of performance and potential can
provide an important second dimension to the evaluation. It is
particularly important in cases where relations between the rated
employee and rating officer are strained. Therefore, reviewing officers
must be prepared from the beginning of the rating period to be
familiar with the employee's performance. While the reviewing officer
may hold general discussions with the rating officer on the rated
employee's overall performance, the reviewing officer's statement
must not be prepared in collaboration with the rating officer, or vice
versa. Independent observations of the employee's performance and
potential must be supported by providing additional examples of
performance observed during the rating period.

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The reviewing officer also shares responsibility for assuring that the
employee is adequately and fairly rated and should discuss with the
rating officer, for possible revision, instances where a report is
inadequately prepared or is not fair. As appropriate, the reviewing
officer may comment on the adequacy of preparation of the report and
on the candor shown by the rating officer.

If there is no reviewing officer statement, the reasons must be
indicated on the EER under this section.

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SECTION VII. STATEMENT BY RATED EMPLOYEE

(RATED EMPLOYEE COMPLETES)

In this section, all rated employees must provide their views on the
period of the performance appraisal. This must include comments on
the most significant achievements during the rating period. The rated
employee may also provide additional background and/or examples or
highlight other accomplishments not mentioned in the performance
appraisal. The degree of specificity is left to the employee's discretion.
In addition, the rated employee may describe any special problems or
circumstances encountered in meeting the work requirements, and
indicate progress toward improving areas discussed during the
counseling sessions. The rated employee may also address
dimensions of the performance or any special problems that the
employee feels have not been adequately covered by the rating officer
or reviewing officer.

The employee may also comment on the frequency, content and
usefulness of counseling from the rating officer. This section also
provides the opportunity for the employee to clarify or comment on
any elements of the evaluation that the rated employee believes are
incorrect, unduly critical, inconsistent, or unclear. However, the rating
officer should have discussed the formal evaluation with the rated
employee using a draft of Sections I, III, IV, and V as a basis for this
discussion, and these issues should first be addressed at that time.

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This section is intended to provide for selection boards, Bureau of
Human Resources officials, and other EER end-users the comments of
the employee on the period of work experience evaluated and, if the
rated employee wishes, on career aspirations, training and
assignments desired over the next 5 years. Statements of assignment
and training preferences ordinarily are not of importance in reaching
assignment decisions but do provide end-users of EERs a helpful
picture of the career interests and goals of the rated employee. If
additional space is required, continuation sheets may be attached to
complete this statement.

The rated employee must be provided 10 calendar days from the date
of receipt of the final EER to review the evaluation and prepare a
statement. The rated employee does not have the right to amend this
statement at a later date except in response to changes made at a
later date in the rating or reviewing officer's statements in the EER.

The rated employee must sign and date in Section VII B to
acknowledge receipt of a copy of the EER and return the original
signed EER to the human resources office. The employee's signature
does not indicate agreement with the contents of the EER nor does it
limit in any way the right of a rated employee to object to a report
through grievance or otherwise. Neither the rating nor the reviewing
officer has the right to see the rated employee's statement.

If the EER is not completed and returned after 10 days by the rated
employee, a copy of the unsigned rating is to be submitted by
post/bureau to HR/PE for inclusion in the employee's OPF with a
covering memorandum to explain the absence of signature.

A MODEL CHRONOLOGY FOR THE RATING CYCLE

By June 1, the rating officer has established work requirements in
collaboration with the rated employee and with the concurrence of the
reviewing officer.

By August 15, the rating officer should have reviewed performance

with the employee, and counseled how to overcome any weaknesses

and capitalize on strengths. Work requirements can be reviewed and
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modified, if appropriate, at this time.

By December 15, the rating officer should have conducted a second
review of performance with the employee.

By April 1, the post/bureau human resources office should have
distributed copies of Form DS-1829 to rating officers. A copy of these
EER instructions should be given to each supervisor, with a due date
for the completed reports to be returned to the human resources office
by the rated employee.

By April 10, the rating officer should have discussed the formal
evaluation with the rated employee based on a draft of Sections I, III,
IV, and V.

By April 15, the rating officer should have completed Sections I, III,
IV, and V of the EER and given it to the reviewing officer.

By April 20, the reviewing officer should have completed Section VI of
the EER and passed it to the rated employee.

By May 1, the rated employee should have completed Section VII and
returned the EER to the post or bureau human resources office. If the
EER is not signed by the rated employee, the human resources office
will review and submit an unsigned copy with explanation to the
review panel.

By May 5, the review panel, after receiving the report from the human
resources office, should have completed its review and returned the
report to the post or bureau human resources office.

By May 10, the post/bureau human resources office should have
transmitted the original report to HR/PE.

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PERFORMANCE EVALUATION REFERENCES

REGULATIONS

3 FAM 2810 and 3 FAH-1 H-2810 — See page 19 of these instructions
for Inadmissible Comments.

DECISION CRITERIA FOR PROMOTION

See Core Precepts (See 3 FAH-1 H-2321 EXHIBIT H-2321 B and Form
DS-1829cp).

EEO

It is the policy of the Department of State to provide equal opportunity
and fair and equitable treatment in employment to all persons without
regard to race, color, religion, sex, national origin, age, disability,
reasonable accommodation for disability, political affiliation, marital
status, sexual orientation, or means of entry into the Foreign Service,
and to achieve equal employment opportunity in all human resources
operations through continuing an affirmative action program.
Additional information can be obtained from 3 FAM 1500 or by
contacting S/OCR.

Employees, such as DCMs, principal officers, office directors, deputy
office directors, and human resources officers are responsible for EEO
program leadership and administration. The manner in which they
meet these responsibilities must be reflected in the EER. Specific
areas on which rating and reviewing officers should comment are
demonstrated commitment to fair treatment and equality of
opportunity; the application of equal employment opportunity and fair
employment practices in the recruitment, assignment, development,
advancement, recognition, and treatment of employees; and
adherence to requirements for reasonable accommodation to needs of
disabled employees. Specific examples are required.

CAREER CANDIDATES

See 3 FAM 2240 (Foreign Service Officer Candidates) and 3 FAM 2250
(Specialist Candidates).

UNUSUAL SITUATIONS - Consult HR/PE.
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CHECKLIST FOR EFFECTIVE
EVALUATION REPORTS

Examples: Incidents exemplifying performance and potential
substantiate laudatory or critical comments and support the overall
ratings.

Consistency: Narrative is related to the work requirements with
internal consistency in the sections completed by the rating and
reviewing officials.

Clarity: Narrative contains no innuendoes or double meanings.

Completeness: Report stands on its own without referring readers to
previous reports.

Evaluation of Performance: Narrative must link performance to at least
three of the work requirements.

Potential: The decision criteria for promotion, which consist of the six
competency groups, must be discussed in the evaluation of potential.

EEO/Affirmative Action: Examples of achievements in furthering equal
opportunity and affirmative action objectives.

Section V C: The rating officer has made a credible explanation of the
choice of the areas of competency in which improvement is needed
and has indicated how performance can be improved.

Employee Statements: Comment can lend new dimension to the
report.

Inadmissible Comments: Report contains no comments prohibited by 3
FAM 2815 (see below).

Timeliness: All contributors do their part within the deadlines set by the

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post or bureau human resources office.

INADMISSIBLE COMMENTS

Inadmissible comments may not be included in any section of the
evaluation report (including the rated employee's comments), or in
other forms of evaluative material (Such as inspectors' reports,
training reports, letters of commendation, etc.). Rating and reviewing
officers and review panels should exercise care to avoid the
submission of reports containing inadmissible comments.

The following subjects are inadmissible in any part:

(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(9)

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Reference to race, color, religion, sex (does not extend to the use
of Mr., Mrs., Ms., or first names or personal pronouns), national
origin, age (including references to "young," “old timer," and "many
years of service"), disability, reasonable accommodation for
disability, and sexual orientation;

Ranking by former Selection Boards or impending selection out;

Physical characteristics and personal qualities that do not affect
performance or potential;

Marital status or plans; references to spouse or family, including
those relating to social activities or the ability of a member of the
family to represent the United States;

Retirement, resignation, or other separation plans;

Reference to job sharing and telecommuting;

Grievance, equal employment opportunity, or Merit Systems
Protection Board proceedings;

Method of entry into the Service;

Reference to private U.S. citizens by name;

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(10)

(11)

(12)

(13)

(14)

(15)

(16)

(17)

Participation or nonparticipation of Foreign Service personnel in any
organization which exists for the purpose, in whole or in part, of
dealing with foreign affairs agencies concerning grievances, human
resources policies, and practices;

Ratings for earlier periods prepared by other supervisors;

Reluctance to work voluntary overtime;

Leave record, except in the case of unauthorized absences;

Letters of reprimand;

Negative reference to use of the dissent channel or direct or
indirect reference to, or consideration of, judgments in dissent
channel messages as a basis for an adverse evaluation of
performance or potential;

When the rated employee's expression of dissenting views on
policy, outside of the dissent channel, raises substantial questions
of judgment or obstructionism relevant to the employee's
performance, it may be the subject of comment. However, general
comment may not be used to get around the proscription of this
section. Specific instances must be cited;

Negative or pejorative discussion of the performance of another
identifiable employee. (Rating officers cannot state "the employee
quickly brought order out of the chaos left by the predecessor. " On
the other hand, the description, "The employee is the best
management officer I have supervised in the past 10 years," is
acceptable. );

Specific identification by rating or reviewing officers of physical
handicap or medical problem (including alcoholism, drug abuse, or
rehabilitation efforts);

(a) Although the details or specific identification of a medical
problem are inadmissible in the evaluation report, general
reference may be made to confirmed knowledge of a medical
problem to the extent it affects job performance.

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(b) Rated employees may discuss their own health problems in
specific terms if rating or reviewing officers have made
references to such problems, or to explain or clarify adverse
comments in a report.

(18) Reference to academic degrees, titles, or specific institutions of
higher learning (except that medical physicians may be referred to
as "Dr."). General comments regarding job-related training and/or
education are acceptable; or

(19) Outside activities that are not relevant to performance or post
effectiveness.

E. Significant instances of superior or exceptional performance in difficult
circumstances or of undependability, inefficiency, or discredit brought on the
Foreign Service, and general poor performance should be documented in the
evaluation report even if reference to the cause itself is inadmissible.

d. If HR/PE discovers inadmissible comments in evaluation reports, it will
make deletions or substitutions and inform the parties concerned.
Concurrence of the rating and/or reviewing officer and the rated employee
will be sought when any substantial changes must be made.

CAREER CANDIDATE PROGRAM
STATEMENT OF PURPOSE

The Career Candidate Program evaluates employees under actual job
conditions to demonstrate as early as is practical whether or not they
are suited for Foreign Service work. Performance evaluation is an
essential part of this testing process and, although similar in many
ways to the performance evaluation of other Foreign Service
employees, has special aspects.

First, and most important, the purpose of periodic EERs for Career
Candidates is to provide adequate information on their performance
and potential for the members of the tenure boards to decide whether
a candidate should receive tenure and become an employee of the
Foreign Service. Therefore, the EER should give special emphasis to
identifying and assessing the skills and knowledge required by career
employees and should focus particularly on the rating and reviewing
officers' judgments of the candidate's potential for successful service.

Foreign Service Officer Career Candidates are judged broadly on their
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demonstrated potential to serve effectively as Foreign Service officers;
Specialist Career Candidates are judged solely on their potential within
their occupational category. It is essential that this judgment be made
as carefully and honestly as possible; it does no service to either the
Department or the candidate to equivocate in the evaluation process.

The role of the rating officer as job counselor and the responsibility of
the reviewing officer are stressed in the Career Candidate Program
regulations. These officers are the Foreign Service's stewards for the
successful implementation of this Program. More information about
the Career Candidate Program is available in 3 FAM 2240 (Foreign
Service Officer Career Candidates) and 3 FAM 2250 (Specialist Career
Candidates).

Additional questions should be directed to the Office of Performance
Evaluation (HR/PE).

PRIVACY ACT STATEMENT

Employee Evaluation Reports are used in taking personnel actions
including tenure, promotion, performance awards, and separation;
and, to a lesser extent, placement, training, and reassignment.
Disclosures of the Employee Evaluation Reports are subject to strict
confidentiality and will be made only to authorized officials performing
the human resources functions for which the information was solicited.

The Foreign Service Act of 1980 (22 U.S.C. 3921 and 4003) authorizes
the collection of the information called for in this form, including the
employee's own statement in Section VII. The employee's social
security number is solicited to enable proper entry of this report into
the Department's system of records. Collection of the social security
number is authorized by Executive Order 9397. Furnishing one's social
security number is voluntary, but failure to do so could lead to
mistaken identity entailing potential adverse consequence to the rated
employee and other employees.

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